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 5

 6                         IN THE UNITED STATES DISTRICT COURT
 7                           FOR THE DISTRICT OF ARIZONA
 8    _________________________________
                                          )
 9    O.P.E.N. America Inc.,              )
      d/b/a OpenWorks;                    )
10                                        ) No. 18-cv-03780-JAT
            Petitioner,                   )
11                                        )
      v.                                  ) OBJECTION TO PETITION TO
12                                        ) COMPEL ARBITRATION
                                          ) PURSUANT TO 9 U.S.C. § 4
13    Ruth LLC;                           ) AND MOTION TO DISMISS
      Ruth Mark;                          ) PURSUANT TO FED. R. CIV. P.
14                                        ) 12(b)(2)
            Respondents.                  ) (Oral Argument Requested)
15                                        )
                                          )
16
            A. Introduction
17
            Respondent Ruth Mark is a recent immigrant from Sudan who was employed as a
18

19   commercial cleaner by Petitioner OpenWorks in Colorado until 2018. She is the plaintiff in

20   litigation against OpenWorks in the District of Colorado, Mark v. OpenWorks, 18-cv-02412
21
     (D. Colo.), where she alleges that OpenWorks recruited her to be a commercial cleaning
22
     worker with false promises of how successful she would be, id., ECF Doc. 1 at ¶¶ 60-65
23

24   (“Compl.”), and that instead of being classified as an employee of OpenWorks, she was told

25   that she would have to form her own LLC and enter into a franchise agreement with the
26   company. While OpenWorks continued to control Mark as it would control any employee—
27
     including, for example, preventing Mark from negotiating prices with OpenWorks clients
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 1   and limiting Mark’s ability to choose when and where she worked, Compl. at ¶¶ 34-59—its
 2
     franchise agreement with her allowed the company to charge Mark predatory franchise fees
 3
     that it then financed for her through a series of installment loans, Compl. at ¶¶ 28-31.
 4
            Now, OpenWorks relies on a purported arbitration agreement in that same franchise
 5

 6   agreement as the basis for a separate case in this Court brought as a petition to compel
 7   arbitration pursuant to 9 U.S.C. § 4, ECF Doc. 1 (“Petition”). The trouble is that the
 8
     franchise agreement attached to the Petition containing the arbitration provision is nothing
 9
     more than an offer. ECF Doc. 1-2 (“Agreement”). By the Agreement’s own terms, the
10

11   contract was never formed because it was not signed by OpenWorks.

12          Furthermore, even if the Agreement were completed, the arbitration provision is
13
     unenforceable. It purports to bind Ms. Mark to private arbitration in Arizona before an
14
     arbitrator hand-picked by OpenWorks at a cost of well over $10,000—a cost that she will be
15
     forced to bear on her own if she does not prevail, which seems likely considering that
16

17   OpenWorks would be responsible for selecting the arbitrator. The provision also includes a

18   shortened statute of limitations in violation of federal and state law and a waiver of Ms.
19
     Mark’s right to seek punitive damages.
20
            OpenWorks has already tried and failed to convince one federal court that this
21

22   arbitration provision should prevent Ms. Mark from asserting her claims in court. In Mark v.

23   OpenWorks, OpenWorks moved the district court in the District of Colorado to stay that
24   litigation pending the resolution of the Petition. The court refused and instead ordered that
25
     that the litigation proceed to the merits of Ms. Mark’s claims under the Fair Labor Standards
26
     Act, 29 U.S.C. § 201, et seq. Judge Jackson explained:
27

28          I will simply say that I am denying the motion to stay because I think there is a


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 1          good likelihood that the arbitration clause will not be enforced by the federal
            court in Arizona. If I’m wrong, then fine, I’m wrong, but that’s my prediction
 2
            of what’s likely to happen there. That is certainly what would happen here,
 3          and we’ll wait and see.

 4   Ex. A, Mark v. OpenWorks, 18-cv-02412 (D. Colo.), Oral Arg. & Scheduling Conf.,
 5
     Tr. at 8:6-11 (Jan. 8, 2019).
 6
            For all the reasons that Ms. Mark urged the court in Colorado to deny the motion to
 7

 8   stay, this Court should deny this petition and allow Ms. Mark to have her claims heard in

 9   court in Colorado, where she lives and where she performed all her work for OpenWorks.
10          B. OpenWorks Has Not Met Its Burden of Establishing a Formed Agreement
11             between It and Mark

12          As now-Justice Gorsuch clarified while writing for the Tenth Circuit,
13
            Everyone knows the Federal Arbitration Act favors arbitration. But before the
14          Act’s heavy hand in favor of arbitration swings into play, the parties
            themselves must agree to have their disputes arbitrated. While Congress has
15          chosen to preempt state laws that aim to channel disputes into litigation rather
            than arbitration, even under the FAA it remains a “fundamental principle”
16
            that “arbitration is a matter of contract,” not something to be foisted on the
17          parties at all costs.

18   Howard v. Ferrellgas Partners, 748 F.3d 975, 977 (10th Cir. 2014) (Gorsuch, J.).
19
            In this case, Petitioner has not met its burden of establishing that the parties have
20
     entered into an agreement to arbitrate. By the terms of the purported agreement attached to
21

22   the Petition, the “Agreement will not be binding on OpenWorks unless and until it has been

23   signed by an authorized officer of OpenWorks.” Agreement § 11.14. But the agreement
24   submitted by OpenWorks in support of its Petition was not signed by OpenWorks. Instead,
25
     the agreement’s signature page appears as follows:
26
27

28


                                                     3
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10   ECF Doc. 1-2 at 49.
11
            On the Agreement’s signature page, it appears that Plaintiff Ruth Mark signed the
12
     Agreement as a purported “FRANCHISEE.” Id. In the space reserved for OpenWorks to
13

14   execute the Agreement, however, there is no signature. Id. Someone—and it is not clear

15   who—signed the Agreement as a witness, but that witness is not representing or purporting
16
     to represent OpenWorks.
17
            A party need not sign an agreement to be bound by it, but where the terms of a
18
     contract expressly require that the parties assent to the agreement by signature, and the
19

20   parties have not provided assent in that form, the contract is not effective. Scaife v. Assoc. Air.

21   Ctr. Inc., 100 F.3d 406, 411 (5th Cir. 1996); Baier v. Darden Restaurants, 420 S.W.3d 733 (Mo.
22
     Ct. App. 2014); All State Home Mortg. v. Daniel, 977 A.2d 438 (Md. Ct. Spec. App. 2009); Byrd
23
     v. Simmons, 5 So. 3d 384, 388 (Miss. 2009); Union Interchange, Inc. v. Sierota, 355 P.2d 1089,
24

25   1090-91 (Colo. 1960) (“If an offer prescribes the place, time or manner of acceptance its

26   terms in this respect must be complied with in order to create a contract.” (internal
27

28


                                                      4
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 1   quotation marks omitted)).1 In this case, by the express terms of the contract, without
 2
     OpenWorks’s signature, there is nothing but an illusory, one-sided promise.
 3
             In the District of Colorado, OpenWorks argued that even if it had not signed the
 4

 5   Agreement, the arbitration provision could still be binding on Ms. Mark. After all, the terms

 6   of the Agreement provide only that it will not be binding on OpenWorks until OpenWorks
 7
     has signed. Agreement § 11.14. This argument fails as a matter of contract law. An
 8
     agreement that binds one party and not the other is not a contract at all. A contract is
 9
     formed when both parties have assented to be bound by it such that both parties can
10

11   enforce it. CONTRACT, Black’s Law Dictionary (10th ed. 2014) (A contract is “an

12   agreement between two or more parties creating obligations that are enforceable or
13
     otherwise recognizable at law.” (emphasis added)). This is so because the touchstone of
14
     contracting is mutuality, and “[m]utuality requires [that] all contracts … impose upon each
15

16   of the parties a legal binding obligation which each can enforce against the other.” Hoppe v.

17   Percheron Associates, LLC, 11-CV-03233-CBS, 2012 WL 3135378, at *3 (D. Colo. Aug. 1,
18   2012) (internal citations and quotations omitted and emphasis added).
19
             OpenWorks’s signature does not appear on the contract that OpenWorks submitted
20
     to this Court in support of its petition to compel arbitration. That should end this matter.
21

22   However, Ms. Mark acknowledges that OpenWorks claimed to be in possession of another

23

24
     1    Colorado law applies to the question of whether the parties entered into the contract
25        because the contract was presented to Ms. Mark in Colorado, ECF Doc. 1-2 at 49, and
          the Arizona choice-of-law provision in the Agreement is not effective unless the parties
26        entered into the Agreement. See, e.g., Nucap Indus., Inc. v. Robert Bosch LLC, 273 F. Supp.
          3d 986, 1006 (N.D. Ill. 2017). But even if Arizona law does apply, the analysis is the
27        same. See, e.g., Contempo Const. Co. v. Mountain States Tel. & Tel. Co., 736 P.2d 13, 15 (Ariz.
          Ct. App. 1987) (acceptance requires “a manifestation of assent to the terms thereof made
28        by the offeree in a manner invited or required by the offer” (internal quotation marks
          omitted)).

                                                       5
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 1   version of the Agreement with its signature in the Colorado litigation after Ms. Mark pointed
 2
     out the lack of signature in the first version of the Agreement submitted in that case. Mark v.
 3
     OpenWorks, 18-cv-02412 (D. Colo.), ECF Doc. 25-1 (filed on December 10, 2018). But in
 4
     the three months since discovering this “new” version of the Agreement that purports to
 5

 6   contain a signature from OpenWorks, OpenWorks has neglected to update the record here
 7   with an agreement containing OpenWorks’s signature. OpenWorks should not be allowed to
 8
     do so at this late date, and Respondents object to any attempt by Petitioner to submit a new
 9
     version of the Agreement subsequent to this filing.
10

11          However, even if OpenWorks were permitted to submit that new version of the

12   Agreement in support of this Petition, Respondents would at the very least be entitled to
13
     discovery and trial on the formation question. See 9 U.S.C. § 4. In the District of Colorado,
14
     OpenWorks acknowledged that its contracts with franchisees are kept in the same electronic
15
     database where it identified the version of the Agreement that does not include
16

17   OpenWorks’s signature. Id., ECF Doc. 25-2 ¶¶ 5-7 (“I am familiar with the usual and

18   customary business practices of OpenWorks as they relate to the storage of documents kept
19
     in the regular course of OpenWorks’ business…. OpenWorks maintains copies of
20
     documents kept in the regular course of its business activities, like the Agreement, in OPS
21

22   [elsewhere described as an electronic file storage system]…. I found a copy of an

23   OpenWorks Janitorial Agreement dated September 12, 2016 in OPS. However, that copy
24   was not signed by OpenWorks.”). OpenWorks did not explain how a signed version of the
25
     Agreement could end up in a file cabinet when the version of the Agreement in the
26
     electronic database was unsigned.
27

28          The evidence at issue in the Colorado case raised further questions too. OpenWorks


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 1   also did not explain why a version of the agreement would exist that would include the
 2
     witness’s signature but not OpenWorks’s. And, finally, OpenWorks did not explain when it
 3
     signed the agreement. If, as is entirely possible, OpenWorks signed the agreement after Ms.
 4
     Mark pointed out that OpenWorks had not signed the version of the agreement initially
 5

 6   submitted in support of its motion to stay the litigation in the District of Colorado (and its
 7   Petition in this Court), then that signature was not effective. To the extent the Agreement
 8
     attached to the motion to stay or the Petition here amounted to an open offer, Plaintiff
 9
     carefully revoked that offer in her response to OpenWorks’s motion to stay in Colorado. See
10

11   Mark v. OpenWorks, 18-cv-02412 (D. Colo.), ECF Doc. 19 at 4 n.4.

12           Thus, even if OpenWorks is permitted to submit a new version of the Agreement
13
     that does contain its signature, that Agreement would at most create an issue of fact
14
     regarding the “making of the arbitration agreement,” which, pursuant to 9 U.S.C. § 4, must
15
     be resolved by trial.2
16

17           C. Even if the Agreement was Formed, It Is Exceptionally One-Sided and
             Unfair and Is Unenforceable as a Matter of State and Federal Law
18

19
             Even if the Agreement was formed, it is blatantly one-sided and unenforceable as a

20   matter of a state and federal law.
21           1. Legal Framework
22
             The Federal Arbitration Act (“FAA”) provides that written agreements to arbitrate
23
     shall be enforceable “save upon such grounds as exist at law or in equity for the revocation
24

25   of any contract.” 9 U.S.C. § 2. Based on this provision, the Supreme Court has explained

26   that when evaluating the enforceability of an agreement to arbitrate (1) courts must not treat
27
     2
28        Pursuant to 9 U.S.C. § 4, Respondents request a jury trial on any fact questions raised by
          OpenWorks’s petition.

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 1   arbitration agreements with disfavor relative to other agreements, see, e.g., DIRECTV, Inc. v.
 2
     Imburgia, 136 S. Ct. 463, 468 (2015) (arbitration clauses must be placed on “equal footing
 3
     with other contracts” (internal quotation marks omitted)), and (2) courts must not employ
 4
     generally applicable laws or rules of decision to limit the contracting parties’ “discretion in
 5

 6   designing arbitration processes [that are] efficient [and] streamlined,” AT&T v. Concepcion,
 7   563 U.S. 333, 344 (2011).
 8
              The inverse of these propositions is equally central to federal arbitration law. Because
 9
     arbitration is fundamentally a creature of contract, arbitration agreements may be defeated
10

11   by the same defenses that are applicable to other contracts. See, e.g., Capili v. Finish Line, Inc.,

12   699 F. App’x 620, 622 (9th Cir. 2017); Nesbitt v. FCNH, Inc., 811 F.3d 371, 377 (10th Cir.
13
     2016). And while the FAA may insulate arbitration agreements designed to promote speedy,
14
     efficient, and fair dispute resolution, it provides no protection to agreements designed to
15
     impede these goals. See, e.g., Chavarria v. Ralphs Grocery Co., 733 F.3d 916, 922-23 (9th Cir.
16

17   2013).

18            In this case, there are two relevant frameworks for evaluating the enforceability of the
19
     Agreement. The first is Arizona unconscionability law, applicable via the choice-of-law
20
     provision. Agreement § 11.2. Under Arizona law, an agreement may be substantively
21

22   unconscionable if the contract terms are “so one-sided as to oppress or unfairly surprise an

23   innocent party, [there is] an overall imbalance in the obligations and rights imposed by the
24   bargain, [or there is a] significant cost-price disparity.” Maxwell v. Fid. Fin. Servs., Inc., 907
25
     P.2d 51, 58 (1995);Clark v. Renaissance W., LLC, 307 P.3d 77, 79 (Ariz. Ct. App. 2013).
26
              The second is the federal doctrine of effective vindication, which renders the
27

28   Agreement unenforceable to the extent that it prevents Mark from effectively vindicating her


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 1   rights under the FLSA. Nesbit, 811 F.3d at 377; Chavarria, 733 F.3d at 927.
 2
            2. Unenforceable Aspects of the Arbitration Agreement
 3
            Under either of these frameworks, the Agreement is unenforceable for several
 4
     reasons, including the following.
 5

 6          Arbitrator-Selection Mechanism: The Agreement includes a blatantly
 7   unconscionable arbitrator-selection mechanism, which is unenforceable as a matter of
 8
     Arizona law. The Agreement provides that OpenWorks will have the ability to unilaterally
 9
     select an arbitrator by handpicking a group of three potential arbitrators from which Ms.
10

11   Mark may select one. Agreement §11.8.4. This term is harsh, one-sided, and substantively

12   unconscionable. Chavarria, 733 F.3d at 925 (9th Cir.2013); see also Beltran v. AuPairCare, Inc.,
13
     907 F.3d 1240, 1258 (10th Cir. 2018); McMullen v. Meijer, Inc., 355 F.3d 485, 493 (6th Cir.
14
     2004); Gullett on behalf of Estate of Gullett v. Kindred Nursing Centers W., L.L.C., 390 P.3d 378,
15
     385 (Ariz. Ct. App. 2017) (contrasting arbitrator selection provision in that case with
16

17   provision like the one here and suggesting the latter would be unenforceable). The Ninth

18   Circuit has struck down an almost identical term that arguably provided more protection for
19
     the non-drafting party by requiring that the three potential arbitrators proposed by the
20
     drafting party be “neutral.” Zaborowski v. MHN Gov’t Services, Inc., 601 Fed. Appx. 461 (9th
21

22   2014) (affirming Zaborowski v. MHN Gov't Servs., Inc., 936 F. Supp. 2d 1145, 1153 (N.D. Cal.

23   2013), which explains clause in more detail). This agreement does not even go that far.
24          Cost-Shifting Provision: Under the Agreement, “[a]ll expenses of arbitration must
25
     be paid by the party against whom the arbitrator renders a decision.” Agreement § 11.8. In
26
     light of the extraordinary costs of arbitration and Ms. Mark’s inability to pay those costs, that
27

28   cost-shifting provision is unconscionable.


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 1          The costs of arbitration here would likely be well in excess of $10,000. Attached to
 2
     this opposition is a declaration from an attorney and arbitrator in the Phoenix area declaring
 3
     that the costs of arbitration in Arizona would likely be between $400-$550 per hour,
 4
     excluding administrative and filing fees. Ex. B, Enoch Decl. at ¶ 11. This estimate is
 5

 6   corroborated by a declaration from an Arizona arbitrator, prepared for a state court case in
 7   2017, in which she states that she charges $500 per hour or $4,000 per day to conduct
 8
     employment arbitrations, which she considers to be typical within the Phoenix area. Ex. C,
 9
     Lieberman Decl. at ¶ 8. In this case, the parties have estimated that a trial solely on Mark’s
10

11   FLSA claims would last 5 days. Mark v. OpenWorks, No. 18-02412-RBJ (D. Colo.), ECF Doc.

12   32 (Scheduling Order) at 8. Considering a day of arbitrator prep, a day to draft an award, and
13
     two days to consider motions and preliminary matters, Ex. C, Lieberman Decl. at ¶ 9, the
14
     costs of such an arbitration would be approximately $36,000, excluding filing fees and other
15
     administrative costs.
16

17          Ms. Mark would not be able to afford anything near those costs. She and her family

18   earn approximately $670 per week, and “[they] spend almost all of that on food and shelter
19
     for [her], [her] husband, and [their] two children—a boy who is nine and a girl who is six.”
20
     Ex. D, Mark Decl. at ¶ 4 (“Mark Decl.”). The estimated costs of arbitrator compensation in
21

22   this case come to more than Ms. Mark’s family earns in an entire year. Nothing in the

23   agreement purports to permit the arbitrator to take these considerations into account in
24   reducing the costs that Ms. Mark would be forced to bear if she did not prevail in the
25
     arbitration.
26
            The cost-shifting term is unconscionable as a matter of Arizona law. Under Arizona
27

28   law, an arbitration agreement is unconscionable if considering the costs of arbitration, the


                                                    10
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 1   plaintiff’s ability to pay, and whether the agreement allows for a waiver or reduction in fees
 2
     or costs, the costs “effective[ly] preclude” the plaintiff from vindicating her rights. Clark, 307
 3
     P.3d at 81. The threat of costs exceeding Ms. Mark’s annual income for a family of four
 4
     meet that threshold. See Williams v. Atlantic Specialty Ins. Co., No. 18-00061-TUC-DCB, 2018
 5

 6   WL 2046999 (D. Ariz. May 2, 2018) (finding arbitration costs unconscionable under Arizona
 7   law).
 8
             It makes no difference that Ms. Mark would not have to bear these costs if she
 9
     prevailed. The tremendous costs of not prevailing, no matter how meritorious she believes
10

11   her claim to be, would chill any person from asserting her rights, let alone someone without

12   savings who relies on about $670 a week to support a family of four, including two young
13
     children. Furthermore, Arizona courts have explained that such loser-pays or cost-shifting
14
     provisions are unconscionable when they conflict with statutory protections like the FLSA
15
     which provide that plaintiffs should be awarded fees when they prevail, and not the other
16

17   way around. R & L Ltd. Investments, Inc. v. Cabot Inv. Properties, LLC, 729 F. Supp. 2d 1110,

18   1117 (D. Ariz. 2010) (“Because the arbitration clauses at issue here require the arbitrator to
19
     award attorneys’ fees to Defendants if they prevail, effectively nullifying the statutory
20
     protection provided to investors provided by Arizona’s Securities Act, the arbitration clauses
21

22   are substantively unconscionable.”); see also Newton v. Am. Debt Services, Inc., 549 Fed. Appx.

23   692, 694 (9th Cir. 2013); Pokorny v. Quixtar, Inc., 601 F.3d 987, 1004 (9th Cir. 2010).
24           This provision is also unenforceable as a matter of federal law because it prevents Ms.
25
     Mark from effectively vindicating her federal rights. The FLSA provides a right for the
26
     employee to recover her fees and costs if she prevails in the action. 29 U.S.C. § 216(b). It is
27

28   entirely antithetical to this scheme to require the plaintiff to pay perhaps many thousands of


                                                    11
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 1   dollars if she does not prevail. “[B]eing at the mercy of the arbitrator’s discretion . . . is not
 2
     the same as the protections of the FLSA.” Nesbitt v. FCNH, Inc., 811 F.3d 371, 378 (10th Cir.
 3
     2016).
 4
              Venue-Selection Provision: The venue selection provision, requiring Ms. Mark to
 5

 6   arbitrate her disputes with OpenWorks in Arizona, Agreement § 11.8, is also unenforceable.
 7            First, it prevents Ms. Mark from effectively vindicating her rights under the FLSA.
 8
     Ms. Mark cannot afford even one trip to Arizona to testify in this matter, let alone the
 9
     multiple trips she might have to take if she were to testify before one of the arbitrators
10

11   selected from a group handpicked by OpenWorks. Agreement § 11.84. Nothing in the

12   agreement purports to require or allow this arbitrator to permit Ms. Mark to participate in
13
     the arbitration proceedings telephonically.
14
              Ms. Mark and her family effectively live hand to mouth. Mark Decl. ¶¶ 3-12. All her
15
     modest savings were drained by OpenWorks. Id. ¶11. And she and her family survive on the
16

17   little work she and her husband are able to get. Until quite recently, they had trouble

18   affording food. Id. ¶¶ 6-7. A trip to Arizona would require Ms. Mark to leave her two young
19
     children at home with her husband who would then have to cut back his hours driving for
20
     Uber, which would mean substantially less of the income her family needs to continue
21

22   meeting their basic needs. Id. ¶ 10. She declares that if her husband does not work as an

23   Uber driver, “we will be homeless.” Id. Because she could not incur these costs, the venue
24   selection provision prevents Ms. Mark from being able to pursue her FLSA claims. Nesbitt,
25
     811 F.3d 371.
26
              For similar reasons, the venue selection provision is also substantively
27

28   unconscionable under Arizona law. Under Arizona law, a venue selection term is


                                                      12
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 1   unconscionable when it deprives the plaintiff of her day in court and is not consistent with
 2
     her reasonable expectations. Societe Jean Nicolas Et Fils v. Mousseux, 597 P.2d 541, 543 (Ariz.
 3
     1979). For the reasons explained above, the venue-selection term presents much more than a
 4
     hassle or some burdensome extra costs. Considering Ms. Mark’s financial situation, it
 5

 6   effectively deprives Ms. Mark of an opportunity to vindicate her rights. See, e.g., Nagrampa v.
 7   MailCoups, Inc., 469 F.3d 1257, 1289–1290 (9th Cir. 2006) (en banc); Bormann v. Waxie
 8
     Enterprises, Inc., No. CIV09-264TUCFRZGEE, 2009 WL 6325693, at *4 (D. Ariz. July 8,
 9
     2009), report and recommendation adopted, 2010 WL 1346329 (D. Ariz. Mar. 31, 2010)
10

11   (“The court concludes a person working in Tucson and making seven dollars per hour2

12   would be unable to pursue arbitration in San Diego. Arbitration in that city would require
13
     the claimant to take time off from work, travel to San Diego, and retain counsel qualified to
14
     practice in California. These costs would effectively prevent an employee from pursuing any
15
     claims that involved only modest damages.”). Additionally, the term is inconsistent with Ms.
16

17   Mark’s reasonable expectations. Ms. Mark performed all her work in Colorado and

18   interacted with the company in Colorado. She did not even know that OpenWorks was
19
     based in Arizona. Mark Decl. ¶ 16.
20
            Punitive Damages Waiver: The agreement also forces Ms. Mark to waive her right
21

22   to seek punitive damages that she may otherwise be entitled to. Agreement § 11.8. This

23   provision is also unconscionable and unenforceable as a matter of state law. Wernett v. Serv.
24   Phoenix, L.L.C., 2009 WL 1955612 (D. Ariz. July 6, 2009) (arbitration clause prohibiting
25
     award of punitive damages, tort damages, or costs and attorney’s fees held unconscionable);
26
     see also Zaborowski v. MHN Gov’t Services, Inc., 601 Fed. Appx. 461 (9th Cir. 2014) (arbitration
27

28   clause which bans punitive damages substantively unconscionable); Bridge Fund Capital Corp.


                                                    13
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 1   v. Fastbucks Franchise Corp., 622 F.3d 996 (9th Cir. 2010) (arbitration clause prohibiting award
 2
     of punitive damages held unconscionable); Hadnot v. Bay, Ltd., 344 F.3d 474, 478 n.14 (5th
 3
     Cir. 2003).
 4
              Shortened Statute of Limitations: The Agreement also shortens the applicable
 5

 6   statutes of limitation for all claims to one year and establishes a pre-filing exhaustion
 7   requirement that requires the complaining party to serve a demand on the other party and
 8
     then, within 90 days of such demand, to commence an arbitration proceeding. Agreement §
 9
     11.10. This agreement expressly defies the unwaivable statutory rights afforded Plaintiff by
10

11   the FLSA, 29 U.S.C. § 255, and thus is unenforceable pursuant to the effective vindication

12   doctrine. 811 F.3d at 377. “[F]ederal courts have routinely concluded that arbitration
13
     provisions shortening the limitations period to bring FLSA claims are unenforceable.” Reyes
14
     v. Gracefully, Inc., 2018 WL 2209486, at *7 (S.D.N.Y. May 11, 2018) (internal quotation
15
     marks omitted).
16

17            As applied to Plaintiff’s state-law claims, the shortened period is unconscionable as a

18   matter of state law because it is non-negotiated term beyond Ms. Mark’s reasonable
19
     expectations. Angus Med. Co. v. Digital Equip. Corp., 840 P.2d 1024, 1031 (Ariz. Ct. App.
20
     1992).
21

22            3. These Terms Render the Arbitration Agreement Unenforceable

23            The Court should decline to consider severing any of the unenforceable and
24   unconscionable terms in this Agreement. At least five of the terms here are excessively harsh
25
     and one sided, suggesting that the arbitration scheme was designed not to provide the parties
26
     with an alternative dispute resolution mechanism but rather as an “inferior forum” that
27

28   works to the drafting party’s advantage. Armendariz v. Found. Health Psychcare Services, Inc., 6


                                                     14
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 1   P.3d 669, 695-97 (Cal. 2000). Additionally, severing these unenforceable terms—terms that
 2
     go to the selection of the arbitrators, where the arbitration should take place, who should
 3
     bear the costs of the arbitration, what remedies are available in the arbitration, and when the
 4
     arbitration must be brought—would require the Court to write a new arbitration provision
 5

 6   thereby substituting the party’s agreement with the Court’s judgment. Williams v. Atlantic
 7   Specialty Ins. Co., No. 18-00061-TUC-DCB, 2018 WL 2046999 at *6 (D. Ariz. May 2, 2018)
 8
     (refusing to sever unconscionable terms). That would be contrary to state and federal law
 9
     and inconsistent with the principle that arbitration is a creature of contract between the
10

11   parties.

12              Finally, severance would create for drafting parties an incentive to pack their
13
     agreements with unconscionable and unenforceable terms knowing that those terms may
14
     chill claims and that at worst, the agreements will be enforced in their absence. Restatement
15
     (Second) of Contracts § 184 cmt. b (1981) (“[A] court will not aid a party who has taken
16

17   advantage of his dominant bargaining power to extract from the other party a promise that is

18   clearly so broad as to offend public policy by redrafting the agreement so as to make a part
19
     of the promise enforceable.”). It is not difficult to draft an enforceable arbitration
20
     agreement. Courts should not remove the incentive to do so.
21

22              To be sure, the Agreement here includes a “severance” provision. Agreement § 11.12.

23   But having this purported “Severability” clause is as good for OpenWorks’s purposes here as
24   having none at all. A true, mutual severance provision might allow the Court to exercise its
25
     discretion to sever some unenforceable terms and enforce the agreement in their absence.
26
     But that is not what this clause allows. This clause purports to allow OpenWorks and
27

28   OpenWorks alone to decide whether any of the terms that have been taken out of the


                                                       15
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 1   agreement are so important to OpenWorks that it would rather vitiate the agreement
 2
     entirely. Particularly considering the extreme one-sidedness of that provision, the Court
 3
     should not give it weight in deciding the severance question.
 4
            4. Procedural Unconscionability
 5

 6          The substantive one-sidedness of the Agreement is enough to render it
 7   unconscionable and unenforceable as a matter of state law. But Arizona courts also
 8
     recognize procedural unconscionability as an alternative basis for invalidating a contract.
 9
     Procedural unconscionability “addresses the fairness of the bargaining process, which is
10

11   concerned with unfair surprise, fine print clauses, mistakes or ignorance of important facts

12   or other things that mean bargaining did not proceed as it should.” Clark, 307 P.3d at 79.
13
            The Agreement here includes multiple serious indications of procedural
14
     unconscionability. Ms. Mark is an immigrant from South Sudan who came to this Country in
15
     2011. Mark Decl. ¶ 2. English is her second language. Id. ¶ 11. While she indicated her
16

17   express assent to the Agreement, including its arbitration provision, that provision is part of

18   an extensive form contract that exceeds 50 pages and includes many complex terms.
19
     OpenWorks presented the contract to Ms. Mark on a take-it-or-leave-it basis. Ms. Mark
20
     explains:
21

22          Some of the words in the contract with OpenWorks are hard. The contract
            book was too much. When you are reading, you just read the words, but
23          because it is too big, you can’t really know them. Some of the words one
            cannot understand, especially when English is your second language. I never
24          knew about the arbitration agreement. I didn’t know that there were some
25          jobs that have agreements about that. I didn’t know what arbitration was when
            I signed the contract. The first time I heard about arbitration was when my
26          lawyer explained it to me. I didn’t know that word.
27
     Id. at ¶ 14. And regarding the circumstances of contract formation, she recounts: “It would
28


                                                   16
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 1   take me 2 or 3 months to read that book and look up each thing, each word one by one. But
 2
     I had to sign it quickly.” Id. ¶ 17.
 3
            D. The Court Should Dismiss this Action for Lack of Personal Jurisdiction
 4          Over Respondents
 5
            Finally, Petitioner provides no allegations that Plaintiff is present in the forum for
 6
     general jurisdiction or that there are minimum contacts sufficient to establish specific
 7

 8   jurisdiction. That leaves only the Arizona forum selection clause in the disputed Agreement

 9   to establish personal jurisdiction. See S.E.C. v. Ross, 504 F.3d 1130, 1149 (9th Cir. 2007) (“the
10   parties may consent to jurisdiction through a forum selection clause in a contract”). Because
11
     Respondents dispute the formation of the contract containing that forum selection clause,
12
     Respondents object to the Court’s exercise of personal jurisdiction based on that forum
13

14   selection clause and additionally move to dismiss the Petition pursuant to Fed. R. Civ. P.

15   12(b)(2) for lack of personal jurisdiction.
16
            E. Conclusion
17
            For all of these reasons, the Court should deny the Petition.
18

19
                                                   DATED this 11th day of February, 2019.
20
                                                          Respectfully Submitted,
21

22                                                        s/ David H. Seligman______
                                                          David H. Seligman
23                                                        Towards Justice
                                                          1410 High Street, Suite 300
24                                                        Denver, CO 80218
25                                                        Tel.: 720-248-8426
                                                          Fax: 303-957-2289
26                                                        Email: david@towardsjustice.org
27

28


                                                     17
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 1                                       Certificate of Service
 2
            I hereby certify that on February 11, 2019 I served a true and correct copy of the
 3
     forgoing on all parties that have appeared pursuant to Fed. R. Civ. P. 5 by filing the forgoing
 4
     using the Court’s CM/ECF electronic filing system.
 5

 6
                                                        s/David H. Seligman
 7                                                      David H. Seligman
 8

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